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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3                                                         Case No.: 3:17-cv-00416-MMD-WGC
     KEVIN CLAUSEN,
 4                                                                         Order
            Plaintiff
 5                                                                    Re: ECF No. 57
     v.
 6
     C/O R. SMITH, et. al.,
 7
            Defendants
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10         Before the court is Defendants' Motion to Strike Sur-Reply. (ECF No. 57.)

11         Defendants filed a motion for summary judgment on October 31, 2019. (ECF No. 40.)

12 On, November 25, 2019, Plaintiff filed a motion for an extension of time to respond to the

13 motion for summary judgment, which the court granted, giving Plaintiff until December 20,

14 2019, to file his response. (ECF Nos. 45, 46.) On December 23, 2019, Plaintiff filed a second

15 request for an extension of time to respond to the motion, which the court granted, giving

16 Plaintiff until January 21, 2020, to file his response. (ECF No. 51.)

17         Plaintiff filed his response on January 23, 2020. (ECF No. 52.) He filed a second

18 response on January 27, 2020. (ECF No. 53.) Defendants have not moved to strike the second

19 response. Defendants filed their reply brief on February 6, 2020. (ECF No. 54.) Plaintiff filed a

20 response to the reply brief on February 18, 2020. (ECF No. 55.) A reply to a reply brief is

21 referred to as a sur-reply. Defendants have moved to strike the sur-reply.

22         Local Rule 7-2 contemplates the filing of a motion, response, and reply. “Surreplies [a

23 response to a reply brief] are not permitted without leave of court; motions for leave to file a
         Case 3:17-cv-00416-MMD-WGC Document 59 Filed 07/08/20 Page 2 of 2



 1 surreply are discouraged.” LR 7-2(b). Supplemental briefing is likewise prohibited, unless the

 2 party obtains leave of court. LR 7-2(g). A supplemental filing made without leave of court may

 3 be stricken. LR 7-2(g).

 4         Plaintiff did not seek leave of court before filing his sur-reply; therefore, Defendants'

 5 motion to strike (ECF No. 57) is GRANTED and the sur-reply (ECF No. 55) is STRICKEN

 6 and will not be considered.

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 9 IT IS SO ORDERED.

10 Dated: July 8, 2020

11                                                            _________________________________
                                                              William G. Cobb
12                                                            United States Magistrate Judge

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